Case 2:22-mc-00147-PA-AGR Document 4 Filed 08/03/22 Page 1 of 10 Page ID #:1142



   1   CATALINA JOOS VERGARA (SBN 223775)
       cvergara@omm.com
   2   O’MELVENY & MYERS LLP
       400 South Hope Street, 18th Floor
   3   Los Angeles, California 90071-2899
       Telephone: +1 213 430 6000
   4   Facsimile: +1 213 430 6407
   5   KEVIN B. HUFF (pro hac vice pending)
       khuff@kellogghansen.com
   6   KELLOGG, HANSEN, TODD, FIGEL &
         FREDERICK, P.L.L.C.
   7   1615 M Street, N.W., Suite 400
       Washington, D.C. 20036
   8   Telephone: +1 202 326 7900
       Facsimile: +1 202 326 7999
   9   (additional counsel listed on signature page)
  10   Attorneys for Moving Party
       Meta Platforms, Inc.
  11
                           UNITED STATES DISTRICT COURT
  12
                          CENTRAL DISTRICT OF CALIFORNIA
  13

  14
       META PLATFORMS, INC.,                       Misc. Case No.
  15
                          Moving Party,            Underlying action in United States
  16                                               District Court for the Northern District
             v.                                    of California, No. 3:20-cv-08570-JD
  17
       SNAP INC.,                                  META PLATFORMS, INC.’S
  18                                               NOTICE OF PENDENCY OF
                          Responding Party.        OTHER ACTION OR
  19                                               PROCEEDING PURSUANT TO
                                                   CIVIL LOCAL RULE 83-1.4.2
  20

  21

  22

  23

  24

  25

  26

  27

  28
                                                                 NOTICE OF PENDENCY OF
                                                            OTHER ACTION OR PROCEEDING
Case 2:22-mc-00147-PA-AGR Document 4 Filed 08/03/22 Page 2 of 10 Page ID #:1143



   1         Pursuant to Civil Local Rule 83-1.4.2, Moving Party Meta Platforms, Inc.
   2   (“Meta”) hereby gives notice of the pendency of the following action in the U.S.
   3   District Court for the Northern District of California involving a material part of the
   4   same subject matter as the above-captioned Action: Klein v. Meta Platforms, Inc.,
   5   No. 3:20-cv-08570-JD (N.D. Cal.).
   6         Meta files this action to resolve its disputes with Non-Party Snap Inc.
   7   (“Snap”) over Snap’s obligations to respond to a Subpoena issued on behalf of
   8   Meta in the Northern District of California matter (“Subpoena”). Meta’s counsel
   9   issued the Subpoena to Snap in the Northern District of California litigation to seek
  10   information and documents relevant to the issues in that case. Meta is filing its
  11   Motion To Compel Snap To Produce Documents in response to the Subpoena with
  12   this Court, where compliance with the Subpoena is required.
  13         The cases consolidated as the Klein action are brought on behalf of two
  14   putative classes: (1) a putative class of users of Meta’s products (the “User Class”
  15   or “Consumer Class”); and (2) a putative class of individuals and entities that
  16   purchased Meta’s advertising productions (the “Advertiser Class”). The User
  17   Plaintiffs allege that Meta obtained and maintained monopoly power in alleged
  18   Social Network and Social Media Markets through alleged deceptions regarding
  19   Meta’s data collection and use practices. The Advertiser Plaintiffs bring claims
  20   under Sections 1 and 2 of the Sherman Act for Meta’s alleged monopolization and
  21   attempted monopolization of the purported Social Advertising Market, including
  22   through an agreement between Meta and Google.
  23         The User and Advertiser Plaintiffs filed consolidated class action complaints
  24   on April 22, 2021. On January 14, 2022, the Court granted in part, and denied in
  25   part, Meta’s motion to dismiss both complaints. The User Plaintiffs chose not to
  26   amend their complaint. The Advertiser Plaintiffs filed an amended complaint on
  27   February 28, 2022. Meta filed a motion to dismiss the Amended Advertiser
  28   Complaint on March 21, 2022, and a hearing is scheduled for August 11, 2022. On
                                                                   NOTICE OF PENDENCY OF
                                                -2-           OTHER ACTION OR PROCEEDING
Case 2:22-mc-00147-PA-AGR Document 4 Filed 08/03/22 Page 3 of 10 Page ID #:1144



   1   April 29, 2022 the Court entered a Scheduling Order providing that fact discovery
   2   will close on January 13, 2022.
   3         The names, addresses, and telephone numbers of the current attorneys in the
   4   Northern District of California litigation are:
   5         Counsel for Defendant Meta: Meta is represented by Mark C. Hansen and
   6   Aaron M. Panner of Kellogg, Hansen, Todd, Figel & Frederick, P.L.L.C., 1615 M
   7   Street, N.W., Suite 400, Washington, D.C. 20036, (202) 326-7900; David Gringer
   8   of Wilmer Cutler Pickering Hale & Dorr LLP, 7 World Trade Center, 250
   9   Greenwich Street, New York, NY 10007, (212) 230-8800; Sonal N. Mehta of
  10   Wilmer Cutler Pickering Hale & Dorr LLP, 2600 El Camino Real, Suite 400, Palo
  11   Alto, CA 94306, (650) 858-6000; and Ari Holtzblatt and Molly M. Jennings of
  12   Wilmer Cutler Pickering Hale & Dorr LLP, 1875 Pennsylvania Avenue, N.W.,
  13   Washington, D.C. 20006, (202) 663-6964.
  14         Counsel for Plaintiffs: The plaintiffs in the Northern District of California
  15   Klein action are Maximilian Klein, Sarah Grabert, Deborah Dames, Timothy
  16   Mathews, Vickie Sherman, Lezah Neville-Marrs, Jarred Johnson, Katherine
  17   Loopers, Rachel B. Kupcho, Jessica L. Layser, Charles Steinberg, Shari Rosenman,
  18   Affilious, Inc., Jessyca Frederick, NJ Premier Inc., Timothy Mills, Mark Young,
  19   Danny Collins, Joshua Jeon, 406 Property Services, PLLC, Mark Berney,
  20   MarQuisha Cork, Rita Garvin, Joe Kovacevich, Mark. K. Wasvary, P.C., Melissa
  21   Ryan, Zahara Mossman, Sally Loveland, Sharon Cheatle, Janine Cortese, Tyler
  22   Boyle, and Steve McCann.
  23         Maximilian Klein and Sarah Grabert are represented by Brantley I.
  24   Pepperman, Kevin Y. Teruya, and Adam B. Wolfson of Quinn Emanuel Urquhart
  25   Sullivan LLP, 865 S. Figueroa Street, Los Angeles, CA 90017, (213) 443-3000;
  26   Michelle R. Schmit and Stephen A. Swedlow of Quinn Emanuel Urquhart Sullivan
  27   LLP, 191 N. Wacker Drive, Suite 2700, Chicago, IL 60606, (312) 705-7400;
  28   Manisha Sheth of Quinn Emanuel Urquhart Sullivan LLP, 51 Madison Avenue,
                                                                NOTICE OF PENDENCY OF
                                                 -3-       OTHER ACTION OR PROCEEDING
Case 2:22-mc-00147-PA-AGR Document 4 Filed 08/03/22 Page 4 of 10 Page ID #:1145



   1   22nd Floor, New York, NY 10010, (212) 849-7000; Brian D. Clark, Laura Matson,
   2   and Kyle Pozan of Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue S,
   3   Suite 2200, Minneapolis, MN 55401, (612) 339-6900; Kristen M. Anderson of
   4   Scott & Scott Attorneys at Law LLP, The Helmsley Building, 230 Park Avenue,
   5   17th Floor, New York, NY 10169, (212) 223-6444; and Shana E. Scarlett of
   6   Hagens Berman Sobol Shapiro LLP, 715 Hearst Avenue, Suite 202, Berkeley, CA
   7   94710, (510) 725-3001.
   8           Deborah Dames and Timothy Mathews are represented by Jennifer L. Joost
   9   of Kessler Topaz Meltzer and Check LLP, One Sansome Street, Suite 1850, San
  10   Francisco, CA 94104, (415) 400-3000; and Melissa L. Troutner of Kessler Topaz
  11   Meltzer and Check LLP, 280 King of Prussia Road, Radnor, PA 19087, (610) 667-
  12   7056.
  13           Vickie Sherman, Lezah Neville-Marrs, and Jarred Johnson are represented by
  14   Tina Wolfson, Robert Ahdoot, and Theodore W. Maya of Ahdoot & Wolfson, PC,
  15   2600 West Olive Avenue, Suite 500, Burbank, CA 91505, (310) 474-9111; and
  16   Andrew W. Ferich of Ahdoot & Wolfson, PC, 201 King of Prussia Road, Suite 650,
  17   Radnor, PA 19087, (310) 474-9111. Jarred Johnson is also represented by Kristen
  18   M. Anderson of Scott & Scott Attorneys at Law LLP, The Helmsley Building, 230
  19   Park Avenue, 17th Floor, New York, NY 10169, (212) 223-6444.
  20           Katherine Loopers is represented by Tina Wolfson, Robert Ahdoot, and
  21   Theodore W. Maya of Ahdoot & Wolfson, PC, 2600 West Olive Avenue, Suite
  22   500, Burbank, CA 91505, (310) 474-9111; Andrew W. Ferich of Ahdoot &
  23   Wolfson, PC, 201 King of Prussia Road, Suite 650, Radnor, PA 19087, (310) 474-
  24   9111; Henry J. Kelston of Ahdoot & Wolfson, PC, 101 Avenue of the Americas,
  25   9th Floor, New York, NY 10013, (917) 336-0171; Hal D. Cunningham of Scott &
  26   Scott Attorneys at Law LLP, 600 West Broadway, Suite 3300, San Diego, CA
  27   92101, (619) 233-4565; Brian J. Dunne of Bathaee Dunne LLP, 901 S MoPac
  28   Expy, Plaza I, Suite 300, Austin, TX 90071, (213) 462-2772; Edward M. Grauman
                                                               NOTICE OF PENDENCY OF
                                               -4-        OTHER ACTION OR PROCEEDING
Case 2:22-mc-00147-PA-AGR Document 4 Filed 08/03/22 Page 5 of 10 Page ID #:1146



   1   of Bathaee Dunne LLP, 7000 N MoPac Expy, Suite 200, Austin, TX 78731, (512)
   2   575-8848; and Yavar Bathaee of Bathaee Dunne LLP, 445 Park Avenue, 9th Floor,
   3   New York, NY 10022, (332) 322-8835.
   4         Rachel B. Kupcho is represented by Brantley I. Pepperman of Quinn
   5   Emanuel Urquhart Sullivan LLP, 865 S. Figueroa Street, Los Angeles, CA 90017,
   6   (213) 443-3000; Michelle R. Schmit and Stephen A. Swedlow of Quinn Emanuel
   7   Urquhart Sullivan LLP, 191 N. Wacker Drive, Suite 2700, Chicago, IL 60606,
   8   (312) 705-7400; Brian D. Clark, Laura Matson, Kyle Pozan, Arielle S. Wagner,
   9   Rebecca A. Peterson, Robert K. Shelquist, and W. Joseph Bruckner of Lockridge
  10   Grindal Nauen P.L.L.P., 100 Washington Avenue S, Suite 2200, Minneapolis, MN
  11   55401, (612) 339-6900; Shana E. Scarlett of Hagens Berman Sobol Shapiro LLP,
  12   715 Hearst Avenue, Suite 202, Berkeley, CA 94710, (510) 725-3000; and Steve W.
  13   Berman of Hagens Berman Sobol Shapiro LLP, 1301 Second Avenue, Suite 2000,
  14   Seattle, WA 98101, (206) 623-7292.
  15         Jessica L. Layser is represented by Dena C. Sharp, Adam E. Polk, Jordan S.
  16   Elias, and Scott M. Grzenczyk of Girard Sharp LLP, 601 California Street, Suite
  17   1400, San Francisco, CA 94108, (415) 981-4800; Austin B. Cohen and Keith J.
  18   Verrier of Levin Fishbein Sedran and Berman, 510 Walnut Street, Suite 500,
  19   Philadelphia, PA 19106, (215) 592-1500; Edward M. Grauman of Bathaee Dunne
  20   LLP, 7000 N MoPac Expy, Suite 200, Austin, TX 78731, (512) 575-8848; Yavar
  21   Bathaee of Bathaee Dunne LLP, 445 Park Avenue, 9th Floor, New York, NY
  22   10022, (332) 322-8835; Hal D. Cunningham of Scott & Scott Attorneys at Law
  23   LLP, 600 West Broadway, Suite 3300, San Diego, CA 92101, (619) 233-4565; and
  24   Kristen M. Anderson of Scott & Scott Attorneys at Law LLP, The Helmsley
  25   Building, 230 Park Avenue, 17th Floor, New York, NY 10169, (212) 223-6444.
  26         Charles Steinberg is represented by Samuel M. Ward and Stephen R. Basser
  27   of Barrack, Rodos & Bacine, 600 West Broadway, Suite 900, San Diego, CA
  28   92101, (619) 230-0800; and Jeffrey B. Gittleman of Barrack, Rodos & Bacine,
                                                              NOTICE OF PENDENCY OF
                                              -5-        OTHER ACTION OR PROCEEDING
Case 2:22-mc-00147-PA-AGR Document 4 Filed 08/03/22 Page 6 of 10 Page ID #:1147



   1   3300 Two Commerce Square, 2001 Market Street, Philadelphia, PA 19103, (215)
   2   963-0600.
   3         Shari Rosenman is represented by Ari Y. Basser and Jordan L. Lurie of
   4   Pomerantz LLP, 1100 Glendon Avenue, 15th Floor, Los Angeles, CA 90024, (310)
   5   432-8492.
   6         Timothy Mills and NJ Premier Inc. are represented by Yavar Bathaee of
   7   Bathaee Dunne LLP, 445 Park Avenue, 9th Floor, New York, NY 10022, (332)
   8   322-8835; Brian J. Dunne of Bathaee Dunne LLP, 901 S MoPac Expy, Plaza I,
   9   Suite 300, Austin, TX 90071, (213) 462-2772; Christopher M. Burke, David H.
  10   Goldberger, Yifan K. Lv, and Daniel Brockwell of Scott & Scott Attorneys at Law
  11   LLP, 600 West Broadway, Suite 3300, San Diego, CA 92101, (619) 233-4565; and
  12   Kristen M. Anderson of Scott & Scott Attorneys at Law LLP, The Helmsley
  13   Building, 230 Park Avenue, 17th Floor, New York, NY 10169, (212) 223-6444.
  14         Jessyca Frederick, Mark Young, and Joshua Jeon are represented by Yavar
  15   Bathaee and Andrew C. Wolinsky of Bathaee Dunne LLP, 445 Park Avenue, 9th
  16   Floor, New York, NY 10022, (332) 322-8835; Brian J. Dunne of Bathaee Dunne
  17   LLP, 901 S MoPac Expy, Plaza I, Suite 300, Austin, TX 90071, (213) 462-2772;
  18   Edward M. Grauman of Bathaee Dunne LLP, 7000 N MoPac Expy, Suite 200,
  19   Austin, TX 78731, (512) 575-8848; Christopher M. Burke, David H. Goldberger,
  20   Yifan K. Lv, Daniel Brockwell, and Hal D. Cunningham of Scott & Scott Attorneys
  21   at Law LLP, 600 West Broadway, Suite 3300, San Diego, CA 92101, (619) 233-
  22   4565; and Kristen M. Anderson and Patrick J. Rodriguez of Scott & Scott
  23   Attorneys at Law LLP, The Helmsley Building, 230 Park Avenue, 17th Floor, New
  24   York, NY 10169, (212) 223-6444.
  25         Danny Collins and Affilious, Inc. are represented by Yavar Bathaee and
  26   Andrew C. Wolinsky of Bathaee Dunne LLP, 445 Park Avenue, 9th Floor, New
  27   York, NY 10022, (332) 322-8835; Brian J. Dunne of Bathaee Dunne LLP, 901 S
  28   MoPac Expy, Plaza I, Suite 300, Austin, TX 90071, (213) 462-2772; Edward M.
                                                              NOTICE OF PENDENCY OF
                                             -6-         OTHER ACTION OR PROCEEDING
Case 2:22-mc-00147-PA-AGR Document 4 Filed 08/03/22 Page 7 of 10 Page ID #:1148



   1   Grauman of Bathaee Dunne LLP, 7000 N MoPac Expy, Suite 200, Austin, TX
   2   78731, (512) 575-8848; Christopher M. Burke, David H. Goldberger, Yifan K. Lv,
   3   Daniel Brockwell, and Hal Cunningham of Scott & Scott Attorneys at Law LLP,
   4   600 West Broadway, Suite 3300, San Diego, CA 92101, (619) 233-4565; Kristen
   5   M. Anderson and Patrick J. Rodriguez of Scott & Scott Attorneys at Law LLP, The
   6   Helmsley Building, 230 Park Avenue, 17th Floor, New York, NY 10169, (212)
   7   223-6444; and Laura Matson of Lockridge Grindal Nauen P.L.L.P., 100
   8   Washington Avenue S, Suite 2200, Minneapolis, MN 55401, (612) 339-6900.
   9         Mark Berney, MarQuisha Cork, and 406 Property Services, PLLC are
  10   represented by Yavar Bathaee and Andrew C. Wolinsky of Bathaee Dunne LLP,
  11   445 Park Avenue, 9th Floor, New York, NY 10022, (332) 322-8835; Brian J.
  12   Dunne of Bathaee Dunne LLP, 901 S MoPac Expy, Plaza I, Suite 300, Austin, TX
  13   90071, (213) 462-2772; Edward M. Grauman of Bathaee Dunne LLP, 7000 N
  14   MoPac Expy, Suite 200, Austin, TX 78731, (512) 575-8848; Christopher M. Burke,
  15   David H. Goldberger, Yifan K. Lv, Daniel Brockwell, and Hal Cunningham of
  16   Scott & Scott Attorneys at Law LLP, 600 West Broadway, Suite 3300, San Diego,
  17   CA 92101, (619) 233-4565; Kristen M. Anderson, Patrick J. Rodriguez, Michael P.
  18   Srodoski, and Patrick J. McGahan of Scott & Scott Attorneys at Law LLP, The
  19   Helmsley Building, 230 Park Avenue, 17th Floor, New York, NY 10169, (212)
  20   223-6444; and Laura Matson of Lockridge Grindal Nauen P.L.L.P., 100
  21   Washington Avenue S, Suite 2200, Minneapolis, MN 55401, (612) 339-6900.
  22         Rita Garvin is represented by Brant D. Penney and Garrett D. Blanchfield, Jr.
  23   of Reinhardt Wendorf & Blanchfield, 332 Minnesota Street, Suite W1050, St. Paul,
  24   MN 55101, 651-287-2100; and Jennie L. Anderson of Andrus Anderson LLP, 155
  25   Montgomery Street, Suite 900, San Francisco, CA 94104, (415) 986-1400.
  26         Joe Kovacevich is represented by Dennis Stewart of Gustafson Gluek PLLC,
  27   600 W. Broadway, Suite 3300, San Diego, CA 92101, (612) 339-6622; Catherine
  28   Sung-Yun K. Smith, Daniel E. Gustafson, Daniel C. Hedlund and Daniel J. Nordin
                                                               NOTICE OF PENDENCY OF
                                              -7-         OTHER ACTION OR PROCEEDING
Case 2:22-mc-00147-PA-AGR Document 4 Filed 08/03/22 Page 8 of 10 Page ID #:1149



   1   of Gustofson Gluek PLLC, Canadian Pacific Plaza, 120 South Sixth Street, Suite
   2   2600, Minneapolis, MN 55402, (612) 333-8844; Dianne M. Nast, NastLaw LLC,
   3   1101 Market Street, Suite 2801, Philadelphia, PA 19106, (215) 923-9300; E.
   4   Powell Miller and Sharon S. Almonrode of The Miller Law Firm, P.C., 950 West
   5   University Drive, Suite 300, Rochester, MI 48307, (248) 841-2200; Patrick Howard
   6   and Simon B. Paris of Saltz Mongeluzzi Barrett and Bendesky, 1650 Market Street,
   7   One Liberty Place, 52nd Floor, Philadelphia, PA 19103, (215) 496-8282; Kenneth
   8   A. Wexler of Wexler Boley & Elgersma LLP, 55 W. Monroe Street, Suite 3300,
   9   Chicago, IL 60603, (312) 346-2222; and Mark J. Tamblyn of Wexler Boley &
  10   Elgersma LLP, 333 University Avenue, Suite 200, Sacramento, CA 95825, (916)
  11   565-7692.
  12           Melissa Ryan is represented by Kevin F. Ruf of Glancy Prongay & Murray
  13   LLP, 1925 Century Park East, Suite 2100, Los Angeles, CA 90067, (310) 201-
  14   9160.
  15           Zahara Mossman is represented by Hal D. Cunningham of Scott & Scott
  16   Attorneys at Law LLP, 600 West Broadway, Suite 3300, San Diego, CA 92101,
  17   (619) 233-4565; Kristen M. Anderson of Scott & Scott Attorneys at Law LLP, The
  18   Helmsley Building, 230 Park Avenue, 17th Floor, New York, NY 10169, (212)
  19   223-6444; Brian J. Dunne of Bathaee Dunne LLP, 901 S MoPac Expy, Plaza I,
  20   Suite 300, Austin, TX 90071 (213) 462-2772; Edward M. Grauman of Bathaee
  21   Dunne LLP, 7000 N MoPac Expy, Suite 200, Austin, TX 78731, (512) 575-8848;
  22   Yavar Bathaee of Bathaee Dunne LLP, 445 Park Avenue, 9th Floor, New York, NY
  23   10022, (332) 322-8835; and Tina Wolfson of Ahdoot & Wolfson, PC, 2600 West
  24   Olive Avenue, Suite 500, Burbank, CA 91505, (310) 474-9111.
  25           Sally Loveland is represented by Robert A. Hennig and Samuel Brown of
  26   Hennig Kramer Ruiz & Singh, 3600 Wilshire Boulevard, Suite 1908, Los Angeles,
  27   CA 90010, (213) 310-8301.
  28           Sharon Cheatle, Janine Cortese, Tyler Boyle, and Steve McCann are
                                                               NOTICE OF PENDENCY OF
                                               -8-        OTHER ACTION OR PROCEEDING
Case 2:22-mc-00147-PA-AGR Document 4 Filed 08/03/22 Page 9 of 10 Page ID #:1150



   1   represented by Bradford L. Geyer, FormerFedsGroup.Com LLC, 2006 Berwick
   2   Drive, Cinnaminson, NJ 08077, (856) 607-5708.
   3         Mark K. Wasvary, P.C. is represented by Jennie L. Anderson of Andrus
   4   Anderson LLP, 155 Montgomery Street, Suite 900, San Francisco, CA 94104,
   5   (415) 986-1400; and Kristen M. Anderson of Scott & Scott Attorneys at Law LLP,
   6   The Helmsley Building, 230 Park Avenue, 17th Floor, New York, NY 10169, (212)
   7   223-6444.
   8

   9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                                            NOTICE OF PENDENCY OF
                                            -9-        OTHER ACTION OR PROCEEDING
Case 2:22-mc-00147-PA-AGR Document 4 Filed 08/03/22 Page 10 of 10 Page ID #:1151



    1   Dated: August 2, 2022                  O’MELVENY & MYERS LLP
    2
                                               By:    /s/ Catalina Joos Vergara
    3                                                Catalina Joos Vergara
    4                                          Catalina Joos Vergara
    5
                                               cvergara@omm.com
                                               O’MELVENY & MYERS LLP
    6                                          400 South Hope Street, 18th Floor
                                               Los Angeles, California 90071-2899
    7                                          Telephone: +1 213 430 6000
                                               Facsimile: +1 213 430 6407
    8

    9
                                               Mark C. Hansen (pro hac vice pending)
                                               Kevin B. Huff (pro hac vice pending)
   10                                          Kevin D. Horvitz (pro hac vice
                                                pending)
   11                                          Ana Nikolic Paul (pro hac vice
                                                pending)
   12                                          Justin B. Berg (pro hac vice pending)*
   13                                          mhansen@kellogghansen.com
                                               khuff@kellogghansen.com
   14                                          khorvitz@kellogghansen.com
                                               apaul@kellogghansen.com
   15                                          jberg@kellogghansen.com
   16
                                               KELLOGG, HANSEN, TODD,
                                                 FIGEL & FREDERICK, P.L.L.C.
   17                                          1615 M Street, N.W., Suite 400
                                               Washington, D.C. 20036
   18                                          Telephone: + 1 202 326-7900
                                               Facsimile: +1 202 326 7999
   19                                          *Admitted in New York. Not admitted
   20                                           in District of Columbia. Practice
                                                supervised by members of the firm.
   21

   22                                           Attorneys for Moving Party
                                                Meta Platforms, Inc.
   23

   24

   25

   26

   27

   28
                                                            NOTICE OF PENDENCY OF
                                           - 10 -      OTHER ACTION OR PROCEEDING
